Case 3:20-cr-00007-KRG Document 895 Filed 02/03/21 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )

)
Vv. ) Criminal No. 20-07J
)
ALEXIS BROLIN, JR. )

ORDER OF COURT

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AND NOW, to-wit, this day of Fé prua ty 2021, upon

consideration of the foregoing Motion to Extend Tire to File Pretrial
Motions, it is hereby ORDERED, ADJUDGED AND DECREED that said
motion be, and the same hereby is, granted;

IT IS FURTHER ORDERED that the extension of time caused by this
continuance (February 2, 2021 through May 3, 2021) be deemed excludable
delay under the Speedy Trial Act 18 U.S.C. §38161 et seq. Specifically, the
court finds that the ends of justice served by granting this continuance
outweigh the best interest of the public and the defendant to a speedy trial,
18 U.S.C. §3161(h)(7)(A), since, for the reasons stated in defendant's motion,
the failure to grant such continuance would deny counsel for the defendant
reasonable time necessary for effective preparation, taking into account the

exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv).
Case 3:20-cr-00007-KRG Document 895 Filed 02/03/21 Page 2 of 2

IT IS FURTHER ORDERED that any pretrial motions referred to in

Local Criminal Rule 12 are due on or before May 38, 2021.

  

Kim R. Gibson
United States District Judge
